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PROB 12B
(7/93)
United States District Court
for
District of New Jersey
Request for Modifying the Conditions or Term of Supervision
with Consent of the Offender
(Probation Form 49, Waiver of Hearing is Attached)

Name of Offender: Evelyn Rivera Cr,: 03-00059-001

PACTS Number:32824
Name of Sentencing Judicial Officer: Honorable Joseph A. Greenaway
Date of Original Sentence: August 24, 2004
Original Offense: Conspiracy to Commit Bank Fraud

Original Sentence: 5 years probation. Special Conditions: drug testing and treatment, mental health treatment,
no new credit, obtain GED, and payment of restitution in the amount of $71,000.00.

Type of Supervision: Probation Date Supervision Commenced:08/24/04

PETITIONING THE COURT
[ ] To extend the term of supervision for Years, for a total term of Years.

[Xx] To modify the conditions of supervision as follows. To vacate the following special condition(s): To
obtain her GED

It is also requested that the Court allow the term of supervision to expire with restitution owing.

CAUSE

The offender suffers from a mental health condition which alters her ability to focus and concentrate. Her
functioning is limited; therefore, she has been unable to maintain full-time employment or obtain a GED.

Pn fully submitted, HK dba)

Pull ne Kelly
Senior U.S. Probation Officer
Date: 03/09/09 _

THE COURT ORDERS:

[*] The Modification of Conditions as Noted Above
[ ] The Extension of Supervision as Noted Above
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[

] No Action
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Date

